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                                            ORDER/COVER SHEET

TO:            The Honorable Nathanael M. Cousins                     RE:     Ronald Robert Kaiser
               U.S. Magistrate Judge

FROM:          Silvio Lugo , Chief                                    Docket No.:        5:24-70711M-2
               U.S. Pretrial Services Officer

Date:          5/16/24

        THE ATTACHED MEMORANDUM WAS PREPARED BY PRETRIAL SERVICES OFFICER:

         Brad Wilson                                                                415-837-3962

         United States Pretrial Services Officer                             TELEPHONE NUMBER

We are requesting direction from the Court. Please initial the appropriate box(es), and return this form to us so that
we may comply with your instructions.

         I have reviewed the information that you have supplied. I do not believe that this matter requires any
         action by this Court at this time.

         Inform all parties concerned that I will conduct a Bail Review Hearing in Courtroom No.
         ____________________ on ____________________ at ____________________.

         Inform all parties concerned that a Bail Review Hearing will be conducted by:
         Magistrate Judge ____________________ Presiding District Court Judge ____________________

  X      I agree with the recommendation of the Pretrial Services Officer and hereby modify the defendant’s
         Pretrial Release conditions as indicated below:

  X      Modification(s)

         The defendant shall be subject to random drug and alcohol testing as directed by
         Pretrial Services.

         Bail Revoked/Bench Warrant Issued.

         I am returning the signed order and direct that a copy be provided to the Court file and all interested
         parties(AUSA and Defense Counsel).

         Other Instructions:

         _________________________________________________________________________________

         _________________________________________________________________________________

         _________________________________________________________________________________


                                                                  May 16, 2024
         JUDICIAL OFFICER                                     DATE
